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                                                       OAK BROOK HEARING OFFICE (X08)
                                                       GROUP STRUCTURE AND PHONE LIST
                               Phone Number (866) 964-7344 Main Fax Number (630) 954-2995 e-DIB FAX: (877) 670-6912
                                                          Last Revised: - 8/25/2019

   Hearing Office Chief ALJ – Roxanne Kelsey (3164) x13802                                     Hearing Office Director - Cathy Mitchum
                                                                                                                         TSRP - 6-1262-13833
                                                                                                                HOD iPhone-- (331) 442-1813
   Hearing Office Management Specialist – Laura Martinez x13821
                                                                                                 Systems Specialist – Angela Barnett x13815
                                                                                               HOSA/Computer Assistant - Faron Smith x13827

Melanie Woodill x13803                  Charles Ott x13818                 Justin Gruzalski x 13849

ALJs                                    ALJs                               ALJs
Janice Bruning (2527) x13846           Bernadette Freeman (3908) x13819    Kimberly Cromer (3113) x13825
Roxanne Kelsey (3164) x13802           William Spalo (3482)x13812          William Mackowiak (3308) x13831
Joel Fina (2658) x13839                Edward Studzinski (3220) x13809                                          Where Are My Managers
                                                                           Senior Attorney
Senior Attorney                         Senior Attorney                    Bill Scoon x13813                    Open:
Sotria Alexopoulos x13824               Nancy LiVacari x13806                                                   Monday-Laura
                                                                           Attorneys                            Tuesday-Charles
Attorneys                               Attorneys                          Jeanne Boutros x 13859               Wednesday-Cathy
Karl Brozyna x 13847                    Alison Crisman x13838              Natasha Grover x13840                Thursday- Justin
Larysa Pyk x 13832                      Erin Duffy x 13807                 Tim Osgood x 13836                   Friday-Mel
Sonia Weaver x13838                     Marcia Gardino x 13805
Mia Wery x 13862                        Greg Schienke x13804                                                    Close:
                                                                           HCSS                                 Monday-Cathy
Paralegal                               Paralegal                          Venita Bynum x13826                  Tuesday-Laura
Tina Mundy x13816                       Sharon Smith x13811                                                     Wednesday-Justin
                                                                                                                Thursday-Melanie
HCSS                                    HCSS                               HCSR                                 Friday-Charles
Wanda Cepulkowski x13823                Margaret LeDuc x13810              Diane Diomede x13808 (CSU)
Gwen Smith x13828                                                          Angela Brown x13842                  Telework:
                                                                           Matthew Lynch x13814 (CSU)           Cathy - Th, F
                                        HCSR                               Darrick Young x 13845                Justin – T, F
HCSR                                    Kelly Franke-Miller x13852 (CSU)                                        Charles – W, Th
Amy Barnshaw x13860                     Heather Kautz x 13820 (CSU)        Virtual
Angel Estrada x13837                    Jackie Reed x13851                 Carol Johnson 6-1612-34813
Jessica Herdrich x13803                 Olga Saltijeral x13817             Rita Slaviero 6-1612-34803
Mary Schafer x13835
Sue Wach x13829                                                            Master Docket                        ADMIN LINE
                                        Duties:                            Mellody Huntley x13861               (866) 331-9170 – press 1
                                        Decision Writing Assignments
Duties:                                 Senior Attorney RO Reports         HCSR                                 Conference Call-in Number
Work-Up Assignment/Quality              OTR Requests                       Debbie Jackson x13834                (877) 446-3914
ALJ Spreadsheets                        Training Coordinator                                                    Passcode – 653595
Critical Case Determinations            ALJ Instruction concerns           Duties:
Dismissal Coordinator                   DWPI Monthly Emails                Scheduling Liaison                   SYSTEMS HELPDESK
Front Desk                              DOUT/Transfers                     Monthly ALJ assignments
                                        CSU Rep Coordinator                                                     (877) 697-4889
Lobby Assistance                                                           Congressional Liaison
M.E.N.S Coordinator                                                        To-Do Oversight
                                                                                                                PII LOSS
WOUT/Transfers                                                             Returned Mail Listing – M23
E16-Development                                                            Master Docket                        (877) 697-4889
Remand assignments                                                         CSU Manager
Case Readiness-M21
Stagnant WKUP-E22
Aged Case coordinator
                                        Other Information                  ALPHA BREAKDOWN
Untimely filings
                                        Reception – x13800                 Angel AAA-CHO x 13837
                                        Security Guard – x13822            Angela CHP-GID x 13842
                                        Hearing Room A – x13857            Jackie GIE-JOM  x 13851
                                        Hearing Room B – x13856            Mary JON-MCD   x 13835
                                        Hearing Room C –x13855             Olga MCE-RAC    x13817
                                        Hearing Room D – x13854            Amy RAD-STE     x 13860
                                        Hearing Room E – x13853            Sue STF-ZZZ     x13829
                                        Break Room – x13872
                                        IVT Room – x13870
